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 1 TRINETTE G. KENT (State Bar No. 025180)
 2 KENT LAW OFFICES
   3219 E. Camelback Rd., #588
 3 Phoenix, AZ 85018
 4 Telephone: (480) 247-9644
   Facsimile: (480) 717-4781
 5 E-mail: tkent@kentlawpc.com
 6
   Of Counsel to:
 7
   Credit Repair Lawyers of America
 8 22142 West Nine Mile Road
   Southfield, MI 48033
 9
   Telephone: (248) 353-2882
10 Facsimile: (248) 353-4840
11
   Attorneys for Plaintiff,
12 Janine Hanson
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Janine Hanson,                                Case No.: 3:17-cv-08225-SPL
17
                    Plaintiff,
18
19        vs.                                    NOTICE OF SETTLEMENT

20 Northland Group, LLC.
21
                 Defendant.
22
23        NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Northland Group,
24 LLC, in the above-captioned case have reached a settlement. The parties anticipate
25
   filing a Stipulation of Dismissal with Prejudice as to Defendant Northland Group,
26
27 LLC, ONLY, pursuant to Fed. R. Civ. P. 41(a) within 60 days.
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                                             1
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1     RESPECTFULLY SUBMITTED this 1st day of March, 2018.
2
3                                      KENT LAW OFFICES
4
5
                                       By: /s/ Trinette G. Kent
6                                      Trinette G. Kent
7                                      Attorneys for Plaintiff,
                                       Janine Hanson
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